                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                 DOCKET NO. 5:13CR72-2


UNITED STATES OF AMERICA                            )
                                                    )
               vs.                                  )             ORDER
                                                    )
PHILIP BRUCE RAZOR                     )
______________________________________ )


       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of this

Court, hereby grants the Government’s Motion To Dismiss, Count Five (5), and Count Six (6) in

the above-captioned Bill of Indictment as to Defendant, PHILIP BRUCE RAZOR, without

prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshal Service, and the United States Attorney's Office.



 Signed: August 21, 2014




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